20-05027-rbk Doc#36 Filed 08/10/20 Entered 08/10/20 15:48:48 Main Document Pg 1 of 4



                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

 In re:                                 §             Chapter 11
 KRISJENN RANCH, LLC                    §
        Debtor                          §          Case No. 20-50805
                                        §
 _________________________________________________________________________

 KRISJENN RANCH, LLC and                §
 KRISJENN RANCH, LLC-SERIES             §
 UVALDE RANCH, and KRISJENN             §
 RANCH, LLC-SERIES PIPELINE             §
 ROW as successors in interest to       §
 BLACKDUCK PROPERTIES, LLC,             §
       Plaintiffs                       §
                                        §
 v.                                     §
                                        §
 DMA PROPERTIES, INC., and              §
 LONGBRANCH ENERGY, LP,                 §        Adversary No. 20-05027
       Defendants                       §
 _________________________________________________________________________

 DMA PROPERTIES, INC                           §
       Cross-Plaintiff/Third Party Plaintiff   §
                                               §
 v.                                            §
                                               §
 KRISJENN RANCH, LLC,                          §
 KRISJENN RANCH, LLC-SERIES                    §
 UVALDE RANCH, and KRISJENN                    §
 RANCH, LLC-SERIES PIPELINE ROW,               §   Adversary No. 20-05027
 BLACK DUCK PROPERTIES, LLC,                   §
 LARRY WRIGHT, and JOHN TERRILL                §
       Cross-Defendants/Third-Party            §
       Defendants                              §

            AGREED JOINT MOTION TO EXTEND DEADLINES FOR
          THIRD-PARTY DEFENDANT LARRY WRIGHT’S RESPONSE TO
            THIRD-PARTY PLAINTIFFS DMA PROPERTIES, INC. AND
          FRANK DANIEL MOORE’S PARTIAL MOTION FOR SUMMARY
                             JUDGMENT

  TO THE HONORABLE CHIEF BANKRUPTCY JUDGE RONALD B. KING:


                                               1
20-05027-rbk Doc#36 Filed 08/10/20 Entered 08/10/20 15:48:48 Main Document Pg 2 of 4




      COMES NOW Third-Party Defendant Larry Wright (“Wright”) and Third-Party Plaintiffs

  DMA Properties, Inc. and Frank Daniel Moore (together, “Moore”) in agreement to move

  the Court to extend Wright’s response date to Moore’s Motion for Partial Summary Judgment

  filed on July 24, 2020, Doc. #28 in the adversary proceeding, as follows:

         1.      On August 5, 2020 Wright and Moore filed a stipulation regarding Wright’s

  answer deadline with the agreed service date being July 24, 2020 and an agreed answer date of

  August 14, 2020.

         2.      Pending before the Court, and prior to Wright’s appearance and answer date of

  August 14, 2020, Moore filed a Motion for Partial Summary Judgment seeking to construe

  language in the Pipeline Easement Agreement which is set for hearing on August 17, 2020.1

         3.      Due to the stipulation on Wright’s answer date of August 14, 2020, the parties

  hereby move the Court to reset the MSJ hearing to a date in mid-September and extend

  Wright’s response to Moore’s Motion for Partial Summary Judgment to August 28, 2020.

         WHEREFORE, PREMISES CONSIDERED, Wright and Moore pray the Court

  grant this Agreed Motion to extend Wright’s deadline to respond to Moore’s Motion for

  Partial Summary Judgment until August 28, 2020, and for the Court to move the hearing date

  from August 17, 2020 to a date in mid-September.

                                                 Respectfully submitted,

                                                 BAYNE, SNELL & KRAUSE
                                                 1250 N.E. Loop 410, Suite 725
                                                 San Antonio, Texas 78209
                                                 Telephone: (210) 824-3278
                                                 Facsimile: (210) 824-3937
                                                 Email: wgermany@bsklaw.com

  1
   There are other matters currently set for final hearing August 17, 2020 that are not being re-set
  pursuant to this agreement.
                                                     2
20-05027-rbk Doc#36 Filed 08/10/20 Entered 08/10/20 15:48:48 Main Document Pg 3 of 4




                                              By: /s/ William P. Germany
                                                     WILLIAM P. GERMANY
                                                     State Bar No. 24069777
                                              Attorney for Third-Party Defendant Larry Wright


                                              LANGLEY & BANACK, INC.
                                              745 East Mulberry, Suite 700
                                              San Antonio, Texas 78212
                                              Telephone: (210) 736-6600
                                              Facsimile: (210) 735-6889
                                              Email: nwilson@langleybanack.com

                                              By:  /s/ Natalie F. Wilson
                                                      NATALIE F. WILSON
                                                      State Bar No. 24076779
                                              Counsel for Defendants/Third-Party Plaintiffs
                                              DMA Properties, Inc. and Frank Daniel Moore


                                      Certificate of Service

           I hereby certify that on August 10, 2020 a true and correct copy of the foregoing
  document was transmitted to each of the parties via the Court’s electronic transmission
  facilities and/or via electronic mail as noted below. For those parties not registered to receive
  electronic service, a true and correct copy of the foregoing document was served by United
  States mail, first class, postage prepaid, at the address noted below.

   Charles John Muller, IV                           Michael Black
   Email: john@muller-smeberg.com                    Email: mblack@burnsandblack.com
   Muller Smeberg, PLLC                              BURNS & BLACK PLLC
   111 W. Sunset                                     750 Rittiman Road
   San Antonio, TX 78209                             San Antonio, TX 78209

   Ronald J. Smeberg                                 Jeffery Duke
   Email: ron@smeberg.com                            Email: jduke@dbmmlaw.com
   The Smeberg Law Firm, PLLC                        DUKE BANISTER MILLER & MILLER
   2010 W Kings Hwy                                  22310 Grand Corner Drive, Suite 110
   San Antonio, TX 78201-4926                        Katy, TX 77494

   Counsel to Plaintiffs Krisjenn Ranch, Counsel to                 Defendant       Longbranch
   LLC, Krisjenn Ranch, LLC, Series Energy, LP
   Uvalde Ranch, Krisjenn Ranch, LLC,
   Series Pipeline Row


                                                 3
20-05027-rbk Doc#36 Filed 08/10/20 Entered 08/10/20 15:48:48 Main Document Pg 4 of 4




   Ronald J. Smeberg                         Shane P. Tobin
   Email: ron@smeberg.com                    Email: shane.p.tobin@usdoj.gov
   The Smeberg Law Firm, PLLC                OFFICE OF THE U.S. TRUSTEE
   2010 W Kings Hwy                          903 San Jacinto Blvd, Room 230
   San Antonio, TX 78201-4926                Austin, Texas 78701

   Counsel to Third-Party Defendant Black United States Trustee
   Duck Properties, LLC

   John Terrill
   12712 Arrowhead Lane
   Oklahoma City, OK 73120

   Third Party Defendant, pro se


                                                /s/ William P. Germany
                                               WILLIAM P. GERMANY




                                         4
